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           13 JONATHAN MANNION PHOTOGRAPHY LLC
           14
                                 UNITED STATES DISTRICT COURT
           15
                                CENTRAL DISTRICT OF CALIFORNIA
           16
              SHAWN CARTER, also known as            Case No.: 2:21-cv-04848-PA-KS
           17 JAY-Z, an individual,
           18                                        DEFENDANTS JONATHAN
                                Plaintiff,           MANNION AND JONATHAN
           19                                        MANNION PHOTOGRAPHY
           20 v.                                     LLC’S OFFERS OF PROOF RE:
                                                     EXPERT WITNESSES
           21 JONATHAN MANNION, an
           22 individual, and JONATHAN               Assigned to the Hon. Percy Anderson
              MANNION PHOTOGRAPHY LLC, a
           23 New York limited liability company,
           24                                        Pre-trial Conf.: June 17, 2022, 1:30 pm
                                Defendants.          Trial Date: July 19, 2022
           25
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           27
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            1        Pursuant to the order of this Court dated June 6, 2022 [Dkt. 125],
            2 Defendants Jonathan Mannion and Jonathan Mannion Photography LLC (“JMP”)
            3 (collectively, “Defendants”) respectfully offer the following offer of proof
            4 regarding Defendants’ Expert Witnesses. 1
            5 I.    PHOTOGRAPHY EXPERT, PROFESSOR JEFFREY SEDLIK
            6        Professor Sedlik is an experienced professional in the field of fine art
            7 photography, and specifically fine art music photography. Professor Sedlik will
            8 testify about the fine-art photography and Mr. Mannion’s place in it, and the
            9 creative elements in Mr. Mannion’s photographs at issue in this case (the
           10 “Photographs”). If necessary, Professor Sedlik will also rebut the expert testimony
           11 provided by Plaintiff’s memorabilia market expert, Ms. Mahn Miller.
           12        Attached hereto as Exhibit A is a true and correct copy of Professor Jeffrey
           13 Sedlik’s Preliminary Expert Report dated March 14, 2022 and his curriculum vitae
           14 (Exhibit A to Expert Report). Attached hereto as Exhibit B is a true and correct
           15 copy of Professor Jeffrey Sedlik’s Rebuttal Expert Report dated March 31, 2022.
           16        Opinion 1: Defendant Mannion exercised a series of subjective creative
           17 decisions in capturing the Photographs, and each of the Photographs demonstrate
           18 the substantial, subjective, original creative expression of Defendant Mannion. Ex.
           19 1 at §V.A-C.
           20        Relevance: Professor Sedlik’s testimony is relevant because it will tend to
           21 show that, in creating the Photographs and the physical products imprinted with
           22 them, Mr. Mannion added new expression, meaning, or message to Plaintiff’s
           23 name, image, or likeness and/or that the value of the Photographs does not derive
           24
           25
                Pursuant to the Court’s permission, to avoid the unnecessary waste of paper, and
                1
           26 to facilitate the Court’s review of Defendants’ offer of proof for their expert
           27 witnesses, Defendants have provided the Court with an electronic version of the
              exhibits submitted in support of their offer of proof for their expert witnesses in
           28 lieu of paper copy.
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            1 primarily from Plaintiff’s fame, such that the works are transformative in nature.
            2 This goes to an important element of Defendants’ First Amendment affirmative
            3 defense to Plaintiff’s claims.
            4         Basis: Professor Sedlik examined the creative and technical elements and
            5 choices employed by Defendant Mannion in capturing the photos, as well as the
            6 subjective creative decisions made by Defendant Mannion in connection therewith,
            7 to opine that the Photographs are unique, original, and expressive works of
            8 Defendant Mannion’s authorship.
            9         Documents Relied Upon: In addition to testimony that may be offered at
           10 trial that differs from the witnesses’ testimony at deposition, Professor Sedlik’s
           11 opinions are based on:
           12     • his experience in the field of professional photography, with an emphasis on
           13         music photography (Ex. 1 at § I);
           14     • Plaintiff’s First Amended Complaint in this matter dated June 21, 2021
           15         [Exhibit A-1];
           16     • “About” page of Defendant Mannion’s website, located at
           17         https://www.jonathanmannion.com/about [Exhibit A-2];
           18     • Professor Sedlik’s telephonic interview with Jonathan Mannion, March 10,
           19         2022, in which Mr. Mannion 1) informed Professor Sedlik that JMP was
           20         engaged in activities such as offering photographic services, selling prints
           21         and other reproductions of photographs, and licensing photography
           22         copyrights; 2) confirmed that, in connection with capturing the Photographs
           23         in this action, Mr. Mannion planned each shoot, choosing the locations for
           24         their light, textures, storytelling potential and use as backgrounds, and
           25         selected equipment necessary to achieve the photographs he previsualized;
           26         3) confirmed that he anticipated and responded dynamically to the subject
           27         matter and shooting environment, exercised control over the visual rendition
           28         of the scene, decided which elements to include or exclude, and where to
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            1      place those elements within the frame; 4) confirmed that he determined how
            2      to juxtapose people, objects, and other compositional elements for desired
            3      effect, controlled the placement and interplay of color, tone, contrast, light,
            4      and shade, controlled perspective, distortion, and selective focus to guide the
            5      viewer’s eye through the Photograph, and selected the precise moment at
            6      which to capture the ultimate photograph (Ex. 1 at 18).
            7   • the deposition testimony of Jonathan Mannion, 56:1-5; 175:12-14; 242:18-
            8      243:2, Ex. 106 [Exhibit A-3];
            9   • Log of negatives from photoshoots captured by JMP as of July 18, 2019,
           10      created by JMP employee (MANNION0005943) [Exhibit A-4];
           11   • List of JMP’s clients as of July 25, 2018, compiled by JMP employee
           12      (MANNION0009676) [Exhibit A-5];
           13   • List of gallery websites referenced by Professor Sedlik as of March 17, 2022
           14      (Ex. 1 at 13, fn. 13)
           15   • Figure A-01 created by Professor Sedlik displaying examples of Defendant
           16      Mannion’s photographs, dated March 14, 2022 (Ex. 1 at 14);
           17   • Figure A-02 created by Professor Sedlik displaying examples of licensed
           18      reproduction of Defendant Mannion’s photographs, dated March 14, 2022
           19      (Ex. 1 at 14);
           20   • Figure A-02 created by Professor Sedlik displaying examples of licensed
           21      reproduction of Defendant Mannion’s photographs, dated March 14, 2022
           22      (Ex. 1 at 14);
           23   • Figure B-01 created by Professor Sedlik displaying examples of Defendant
           24      Mannion’s photographs of Plaintiff, dated March 14, 2022 (Ex. 1 at 17);
           25   • Figure C-01 created by Professor Sedlik displaying examples of depictions
           26      of Plaintiff’s likeness in photographs created by various photographers with
           27      citations listed in fn. 20, dated March 14, 2022 (Ex. 1 at 24).
           28
                                                 3
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            1         Opinion 2: Defendants’ use of the Photographs, including the publication of
            2 such Photographs on Defendants’ social media and websites and sale of fine art
            3 prints, is consistent with standard practice in the photography industry concerning
            4 photographers’ uses of their photographs. Ex. 1 §§ V.D-J.
            5         Relevance: This evidence tends to show that Plaintiff had constructive
            6 notice that photographers openly and publicly sell photographs of Plaintiff. These
            7 facts and testimony are relevant to show Plaintiff’s constructive and actual notice
            8 of Defendants’ uses of the Photographs upon which Plaintiff’s claims are based,
            9 and Plaintiff’s subsequent inaction manifests implied consent thereto. Jones v.
           10 Corbis Corp., 815 F. Supp. 2d 1108, 1113 (C.D. Cal. 2011), aff’d, 489 F. App’x
           11 155 (9th Cir. 2012).
           12         Basis: Professor Sedlik opines that this testimony is supported by his
           13 experience in the field of professional photography and his observations with
           14 respect to photographers’ common methods of displaying and distributing their
           15 works to the public, together with his observations and understanding of the ways
           16 in which Defendants have used the Photographs. Ex. 1 §§ V.D-J.
           17         Documents Relied Upon: In addition to testimony that may be offered at
           18 trial that differs from the witnesses’ testimony at deposition, Professor Sedlik’s
           19 opinions are based on:
           20     • his experience in the field of professional photography, with an emphasis on
           21         music photography (Ex. 1 at § I);
           22     • Plaintiff’s First Amended Complaint in this matter dated June 21, 2021
           23         [Exhibit A-1];
           24     • “About” page of Defendant Mannion’s website, located at
           25         https://www.jonathanmannion.com/about [Exhibit A-2];
           26     • Professor Sedlik’s telephonic interview with Jonathan Mannion, March 10,
           27         2022, in which Defendant Mannion informed Professor Sedlik that 1) his
           28         company offered photography licenses on a case-by-case basis, that he
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            1        intends to continue to monetize his copyrights throughout the copyright life
            2        of his photographs by offering licenses for all manner of usages and media,
            3        including those for which he has not yet sold licenses; and 2) that he intends
            4        to create and sell fine art prints of his photographs.
            5     • Figure G-01 created by Professor Sedlik displaying examples of the
            6        commercial exploitation of Defendant Mannion’s photographs and
            7        copyrights by Plaintiff and his record labels, dated March 14, 2022 (Ex. 1 at
            8        32);
            9     • Figure H-01 created by Professor Sedlik displaying examples of the public
           10        display of photographs of Plaintiff’s likeness by photographers with citations
           11        listed in fn. 20, dated March 14, 2022 (Ex. 1 at 34);
           12     • Invoice from JMP To Stardust Visions for S. Carter Enterprises – Jay Z
           13        Rocawear 10th Anniversary – Image Usage Fee, dated August 3, 2009 (JX
           14        232, MANNION000866) [Exhibit A-6];
           15     • Photo release between Shawn Carter and Defendant Mannion re: Blueprint
           16        promotional use of photographs, dated August 24, 2009 (JX 45 –
           17        CARTER0004466) [Exhibit A-7];
           18     • Random House – Bertelsmann letter re permission to use photograph for
           19        Decoded book, dated August 23, 2010 (JX 46 – MANNION000940)
           20        [Exhibit A-8];
           21     • Invoice from JMP to Stardust Visions re: Jay X DJ Hero by Shepard Fairey,
           22        dated August 3, 2009 (MANNION001771) [Exhibit A-9].
           23
           24        Opinion 3: Ms. Mahn Miller’s testimony that the value of the Photographs
           25 derives primarily from the presence of Plaintiff is incorrect. The primary value-
           26 driver of the Photographs is not their subject matter; Defendant Mannion’s original
           27 authorship and expression contributes substantially to the value of a photograph.
           28 See generally Ex. 2.
                                                    5
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            1         Relevance: The question of whence the primary value of a photograph
            2 derives is relevant to the question of whether the work is transformative, and thus
            3 supports Defendants’ First Amendment defense. Ms. Mahn Miller is testifying that
            4 Plaintiff is the primary value-driver of the photograph in order for Plaintiff to argue
            5 that the work is not transformative. Professor Sedlik’s rebuttal testimony will
            6 show how the photographs are transformative.
            7         Basis: Professor Sedlik opines that (a) Ms. Mahn Miller’s background in
            8 celebrity memorabilia is ill-suited to determining the value of the fine-art
            9 photography that Defendant Mannion creates (Ex. 2 § IV.A); (b) Defendant
           10 Mannion made significant creative contributions to the photographs (Ex. 2 § VI.B-
           11 C); (d) Ms. Mahn Miller’s testimony is based on misinterpreting quotations from
           12 famous photographers, who in fact support the opinion that a photographer such as
           13 Defendant Mannion adds significant value to the photograph (Ex. 2 § VI.D); (d)
           14 that the use of Plaintiff’s name in the titles of the photographs is for descriptive
           15 purposes and has no bearing on the value of the photographs (Ex. 2 § VI.E); (e)
           16 that the sale of Defendants’ photographs as open edition prints does not mean their
           17 purchasers are unsophisticated (Ex. 2 § VI.F); (f) that Ms. Mahn Miller’s focus on
           18 the auction market, rather than gallery market, for photography is incorrect (Ex. 2
           19 § VI.G); and (g) Ms. Mahn Miller is incorrect to compare the current value of the
           20 photographs with much older photographs from Gordon Parks and Milton Greene
           21 (Ex. 2 § VI.H).
           22         Documents Relied Upon: In addition to testimony that may be offered at
           23 trial that differs from the witnesses’ testimony at deposition, Professor Sedlik’s
           24 opinions are based on:
           25      • his experience in the field of professional photography, with an emphasis on
           26         music photography (Ex. 1 at § I);
           27      • Plaintiff’s First Amended Complaint in this matter dated June 21, 2021
           28         [Exhibit A-1];
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            1   • Expert Witness Report of Meghan Mahn Miller dated March 18, 2022
            2      [Exhibit B-1];
            3   • “About” page of Defendant Mannion’s website, located at
            4      https://www.jonathanmannion.com/about [Exhibit A-2];
            5   • Professor Sedlik’s telephonic interview with Jonathan Mannion, March 10,
            6      2022, in which Mr. Mannion informed Professor Sedlik that, 1) in
            7      connection with capturing the Photographs in this action, Mr. Mannion
            8      planned each shoot, choosing the locations for their light, textures,
            9      storytelling potential and use as backgrounds, and selected equipment
           10      necessary to achieve the photographs he previsualized; 2) that he anticipated
           11      and responded dynamically to the subject matter and shooting environment,
           12      exercised control over the visual rendition of the scene, decided which
           13      elements to include or exclude, and where to place those elements within the
           14      frame; 4) that he determined how to juxtapose people, objects, and other
           15      compositional elements for desired effect, controlled the placement and
           16      interplay of color, tone, contrast, light, and shade, controlled perspective,
           17      distortion, and selective focus to guide the viewer’s eye through the
           18      Photograph, and selected the precise moment at which to capture the
           19      ultimate photograph (Ex. 1 at 18);
           20   • the deposition testimony of Marjoriet Matute, 115:5-116:25 [Exhibit B-2];
           21   • Statement from Amelia Davis, owner of estate of Jim Marshall, as recorded
           22      in email correspondence with Professor Sedlik dated March 31, 2022. Ex. 2
           23      at Ex. B pgs. 1-3;
           24   • Statement from Bob Gruen, as recorded in email correspondence with
           25      Professor Sedlik dated March 31, 2022. Ex. 2 at Ex. B pgs. 4-5;
           26   • Statement from Henry Diltz, as recorded in email correspondence with
           27      Professor Sedlik dated March 31, 2022. Ex. 2 at Ex. B pgs. 6-7;
           28   • Statement from Timothy White, as recorded in email correspondence with
                                                 7
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            1         Professor Sedlik dated March 31, 2022. Ex. 2 at Ex. B pg. 8.
            2
            3 II. DAMAGES EXPERT, WESTON ANSON
            4         Weston Anson is an experienced professional in the fields of licensing and
            5 branding and the valuation of intellectual property. Mr. Anson is expected testify
            6 in Defendants’ rebuttal case to rebut the expert damages opinion provided by
            7 Plaintiff’s damages expert, Jon Albert-Levy, if necessary.
            8         Attached hereto as Exhibit C is a true and correct copy of Defendants’
            9 damages expert Weston Anson’s preliminary and Expert Report dated March 31,
           10 2022 and curriculum vitae (Appendix A (“Qualifications”) to Expert Report).
           11         Opinion 1: Mr. Albert-Levy’s calculation of damages in the amount of $10
           12 million, representing Mr. Albert-Levy’s estimation of the fair market value of
           13 Plaintiff’s name, image, and likeness for the sale of slipmats and prints during the
           14 relevant period (viz., June 15, 2019 through present), is unreasonable. (Ex. 4 at §§
           15 I.C., IV).
           16         Relevance: This testimony is relevant because it is in rebuttal to the
           17 testimony that is expected to be given by Plaintiff’s damages expert, Mr. Albert-
           18 Levy. Specifically, the calculation of fair market value of Plaintiff’s image is
           19 relevant because this an action concern common-law and statutory right of
           20 publicity claims, and damages for violation of the right of publicity are based upon
           21 the “Clark v. Am. Online Inc., No. CV-98-5650 CAS (CWX), 2000 WL 33535712,
           22 at *8 (C.D. Cal. Nov. 30, 2000).
           23         Basis: Mr. Anson opines that Mr. Albert-Levy’s calculation of damages is
           24 unreasonable because it is based upon three inapposite licensing agreements with
           25 major brands that also involved comprehensive personal services, whereas the
           26 relevant inquiry should focus on the uses that Defendants actually made of the
           27 Photographs. (Ex 4 at 10-14). In addition, Mr. Anson notes that while Mr. Albert-
           28 Levy presents $10 million as the fair market value if the parties had engaged in
                                                    8
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            1 arms-length negotiations, based on JMP’s actual revenues, JMP would never have
            2 agreed to a license on such terms because it would be financially unsound. (Ex. 4
            3 at 14).
            4           Documents Relied Upon: In addition to testimony that may be offered at
            5 trial that differs from the witnesses’ testimony at deposition, Mr. Anson’s opinions
            6 are based on:
            7     • his experience as a licensing and branding expert and in the field of
            8           intellectual-property valuation (Ex. 4 at § I.B.);
            9     • Plaintiff’s First Amended Complaint in this matter dated June 21, 2021
           10           [Exhibit C-1];
           11     • “About” page of Defendant Mannion’s website, located at
           12           https://www.jonathanmannion.com/about [Exhibit C-2];
           13     • Plaintiff’s biography on the website TheFamousPeople.com, located at
           14           https://www.thefamouspeople.com/profiles/shawn-corey-carter-1772.php
           15           [Exhibit C-3];
           16     • Page titled “Jay Z Net Worth” on the website TheRichest.com, located at
           17           https://www.therichest.com/celebnetworth/celeb/rappers/jay-z-net-worth/
           18           [Exhibit C-4];
           19     • Plaintiff Shawn Carter’s Initial Disclosure of Expert Witnesses, dated March
           20           18, 2022 [Exhibit C-5];
           21     • the Creative Services Agreement dated January 1, 2021 between PUMA and
           22           SC Branding LLC dated January 1, 2021 (JX-45, CARTER0004436)
           23           [Exhibit C-6];
           24     • Financial Income Statement for PUMA SE for 2019-2021, generated by
           25           S&P Capital IQ [Exhibit C-7],
           26     • the Brand Strategist Agreement between SC Branding, LLC and CMG
           27           Partners, Inc. dated May 1, 2019 (JX-190, CARTER0004400) [Exhibit C-
           28           8];
                                                      9
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            1     • article titled “An Exclusive Interview With a California Cannabis Colossus
            2          Going Public in an Unconventional Manner” by Carrie Pallardy for New
            3          Cannabis Ventures, dated December 3, 2020 and currently located at
            4          https://www.newcannabisventures.com/an-exclusive-interview-with-a-
            5          california-cannabis-colossus-going-public-in-an-unconventional-manner-
            6          the-parent-company/ [Exhibit C-9];
            7     • Financial Income Statement for TIffany & Co. for 2019-2021, generated by
            8          S&P Capital IQ [Exhibit C-10],
            9     • the Tiffany & Co. Talent Agreement between Tiffany and Company and SC
           10          Branding, LLC dated June 8, 2021 (JX-189, CARTER0004372) [Exhibit C-
           11          11]; and
           12     • the License Agreement Analysis prepared by Weston Anson attached as
           13          Exhibit 1 to the Expert Report dated March 31, 2022 (Ex. C at Ex. 1).
           14
           15          Opinion 2: If any liability is found against any or all of Defendants, the
           16 maximum amount of damages is $44,425, which represents JMP’s gross revenues
           17 for sales of slipmats and prints as reported by Mr. Albert-Levy. (Ex. 4 at §§ I.C,
           18 V.A.).
           19          Relevance: This testimony is relevant to rebutting the damages estimate
           20 given by Mr. Albert-Levy.
           21          Basis: Mr. Anson’s testimony is based upon JMP’s gross revenue for sales
           22 of slipmats and prints during the relevant period (viz., $43,495 for prints and $480
           23 for slipmats) which Mr. Anson opines should be the maximum amount of any
           24 damages given that this is the amount that JMP actually earned. (Ex. 4 at § V.A.).
           25          Documents Relied Upon: In addition to testimony that may be offered at
           26 trial that differs from the witnesses’ testimony at deposition, Mr. Anson’s opinions
           27 are based on:
           28     • his experience as a licensing and branding expert and in the field of
                                                    10
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            1         intellectual-property valuation (Ex. 4 at § I.B.);
            2     • Plaintiff’s First Amended Complaint in this matter dated June 21, 2021
            3         [Exhibit C-1];
            4     • Plaintiff Shawn Carter’s Initial Disclosure of Expert Witnesses, dated March
            5         18, 2022 [Exhibit C-5].
            6
            7         Opinion 3: The more appropriate measure of damages, if liability is found,
            8 is the “reasonable royalty” that Plaintiff would have received on JMP’s actual
            9 sales. Based on a royalty rate of 12.5%, this amounts to $5,553 in damages. (Ex. 4
           10 at §§ I.C., V.B.).
           11         Relevance: This testimony is relevant to rebutting the damages estimate
           12 given by Mr. Albert-Levy.
           13         Basis: Mr. Anson’s testimony is based upon the rate that Mr. Albert-Levy
           14 described in his report as a “reasonable royalty” rate (viz. 12.5%) applied against
           15 what Mr. Albert-Levy reported to be the revenues received by JMP for the sale of
           16 prints and slipmats during the statutory period (viz., $44,425).
           17         Documents Relied Upon: In addition to testimony that may be offered at
           18 trial that differs from the witnesses’ testimony at deposition, Mr. Anson’s opinions
           19 are based on:
           20     • his experience as a licensing and branding expert and in the field of
           21         intellectual-property valuation (Ex. 4 at § I.B.);
           22     • Plaintiff’s First Amended Complaint in this matter dated June 21, 2021
           23         [Exhibit C-1];
           24     • Plaintiff Shawn Carter’s Initial Disclosure of Expert Witnesses, dated March
           25         18, 2022 [Exhibit C-5].
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            1                                 Respectfully submitted,
            2
                Dated: June 14, 2022          WILLENKEN LLP
            3
            4
                                              By: /s/ Paul J. Loh
            5                                      Paul J. Loh
            6                                      Attorneys for Defendants
                                                   JONATHAN MANNION and
            7                                      JONATHAN MANNION
            8                                      PHOTOGRAPHY LLC

            9
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           11
                                                   PAUL HASTINGS LLP
           12                                      Steven A. Marenberg
           13                                      Attorneys for Defendants

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